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 4
                               UNITED STATES DISTRICT COURT
 5                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 6
       ANDREW OTIKER,
 7                                                         No. 3:20-CV-6151-RSL-DWC
 8                                   Petitioner,
              v.                                           ORDER ADOPTING REPORT AND
 9                                                         RECOMMENDATION
       JEFREY A. UTTECHT,
10                                   Respondent.
11

12          The Court, having reviewed the Report and Recommendation of Magistrate Judge David

13   W. Christel, objections to the Report and Recommendation, if any, and the remaining record,

14   does hereby find and ORDER:
15
            (1)    The Court adopts the Report and Recommendation.
16
            (2)    Petitioner’s federal habeas Petition is dismissed without prejudice.
17
            (3)    A certificate of appealability is denied in this case.
18
            (4)    The Clerk is directed to close this case and send copies of this Order to Petitioner,
19
                   counsel for Respondent, and to the Hon. David W. Christel.
20

21          DATED this 25th day of October, 2021.
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24
                                                   A
                                                   Robert S. Lasnik
                                                   United States District Judge
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     ORDER ADOPTING REPORT AND RECOMMENDATION- 1
